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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                       *
                                                *
                Plaintiff,                      *
v.                                              *                 CR. 18-10005-STA
                                                *
FELIX A. VALVERDE,                              *
                                                *
                 Defendant.                     *




                             ORDER AND NOTICE OF RESETTING




       Upon Motion of the Defendant herein and for good cause shown, the Motion Hearing is

hereby re-set until the 20th day of August, 2018 at 1:30pm.

       IT IS SO ORDERED.

       DATE: July 3, 2018.




                                             s/S. Thomas Anderson
                                             HONORABLE S. THOMAS ANDERSON
                                             CHIEF UNITED STATES DISTRICT JUDGE
